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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



ARETE WEALTH, INC.,

              Plaintiff,                Case No. 24-CV-2191

v.

JACK R. THACKER,

              Defendant.

             UNOPPOSED MOTION FOR EXTENSION OF TIME FOR
         DEFENDANT’S MOTION TO DISMISS THE AMENDED COMPLAINT

       1.      Further to the Court’s February 11, 2025, denying Defendant’s Motion to Dismiss

the Amended Compliant without prejudice [ECF No. 42], on February 13, 2025, the Court

convened a status hearing and directed Defendant to confer with Plaintiff on or before February

20, 2025 and, unless otherwise agreed, to file any further motion to dismiss the Amended

Complaint on or before February 27, 2025. ([EDF No. 43].

       2.      Defendant and Plaintiff conferred on February 18, 2025, during which time

Defendant requested and Plaintiff agreed to extend the time for Defendant to file its Motion to

Dismiss by an additional two weeks, up through and including March 13, 2025, with other dates

for response and reply to be agreed upon thereafter.

       3.      Given the agreement of the parties, and that Defendant does not make this request

for any improper purpose, there is good cause to grant the present request in this case.

       4.      Neither party will be prejudiced by the relief requested.
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       5.     Accordingly, Defendant respectfully requests that that Court grant this Unopposed

Motion to Extend Time to File his Motion to Dismiss the Amended Complaint up through and

including March 13, 2025.

       Respectfully submitted this 24tht day of February, 2025.

                                                   /s/ David W. Porteous
                                                   David W. Porteous (IL No. 6257459
                                                   Joel M. Hammerman (ARDC No. 6243071)
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                                                   Attorneys for Defendant




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                             CERTIFICATE OF SERVICE

       I hereby certify that on February 24, 2025, a true and correct copy of the foregoing
UNOPPOSED MOTION FOR EXTENSION OF TIME FOR DEFENDANTS TO MOTION
TO DISMISS was e-filed with the Court through the CM/ECF system, and a copy was e-served
through CM/ECF to parties of record.




                                           s/ Susan M. Haag
                                           Susan M. Haag
                                           Sr. Paralegal




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